             UNITED STATES DISTRICT COURT
             NORTHERN DISTRICT OF GEORGIA
                   ATLANTA DIVISION


                                       Master Case No.:
IN RE GEORGIA SENATE BILL 202
                                       1:21-MI-55555-JPB

       CONSOLIDATED/JOINT DISCOVERY STATEMENT
I.    Background

      Plaintiffs served discovery requests on Georgia GOP (“GAGOP”) on March 4,

2022, and over the past year, the parties have been engaged in a discovery dispute,

including several unsuccessful meet and confers, over GAGOP’s assertions of attorney-

client privilege. Relatedly, Plaintiffs served a deposition subpoena on Brad Carver, the

appointed chair of the GAGOP Election Confidence Task Force (“Task Force”). The

parties will address Mr. Carver’s subpoena in a separate statement, but their

disagreement over that subpoena turns in large part on the resolution of this privilege

issue. The parties thus seek guidance from the Court to address the privilege dispute.

      A.     Plaintiffs’ Position

      Plaintiffs seek documents and communications from GAGOP related to election

reform proposals or recommendations it provided to Georgia legislators. Documents

obtained through discovery indicate that GAGOP, its Task Force, and Mr. Carver,

assisted in drafting SB 202. Documents and communications related to these activities

are highly relevant, but were improperly withheld under the attorney-client privilege—

the main privilege GAGOP has asserted in this case.1 These documents consist of: (1)



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 GAGOP also appears to assert work-product protection over approximately two dozen
documents, all of which pre-date this lawsuit, but fails to explain how such documents
could have been prepared in anticipation of litigation. And GAGOP never asserted First
Amendment privilege in its privilege log, or at any point before submitting this joint
statement, as to the documents in Exhibit A.

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communications with third parties; and (2) communications made to facilitate lobbying

activities or purposes other than providing legal advice.

      While     GAGOP       claims   attorney-client    privilege   over    hundreds    of

communications “between attorneys retained by the Georgia GOP and party leaders,”

Ex. A, Rows 1-375, they have yet to provide Plaintiffs with sufficient information to

ascertain who is a “party leader,” and whether attorney-client relationships existed with

these individuals or the dozens, if not hundreds, of other recipients jointly copied across

these emails, see e.g., id. Rows 305-338 (communications each copying more than a

dozen individuals). See United States v. Schaltenbrand, 930 F.2d 1554, 1562 (11th Cir.

1991) (party invoking attorney-client privilege has the burden of proving that an

attorney-client relationship existed and that the communications were confidential).

      Additionally, many communications that GAGOP has withheld on the basis of

attorney-client privilege appear to be made not for the purpose of providing legal

advice, but for lobbying activities.2 It is GAGOP’s burden to show that “the primary

purpose of the communication was to relay, request or transmit legal advice.” United

States v. Davita, Inc., 301 F.R.D. 676, 682 (N.D. Ga. 2014). “[S]tandard lobbying . . .

is inadequate to invoke the attorney-client privilege,” especially where “there is no

apparent legal advice sought or given.” Brantley Cnty. Dev. Partners, LLC v. Brantley

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  In many instances, there is also insufficient information to determine the purpose of
the communication. See, e.g., Ex. A, Rows 240, 242.

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Cnty., No. 6:05-02152, 2021 WL 2678197, at *2 (S.D. Ga. June 29, 2021); see also

BCD, LLC v. BMW Mfg. Co., LLC, No. 5:19-cv-109, 2006 WL 8443166, at *3 (D.S.C.

June 30, 2006) (ordering production of attorney communications that “more closely

relate to lobbying strategies”).3 Here, many of the withheld communications are related

to GAGOP’s involvement in drafting legislation or consideration of bills, which

constitute lobbying and are not privileged. See, e.g., Ex. A, Rows 28, 32 (emails

between Mr. Carver and GAGOP leaders titled “Re: Suggested Changes to SB202”);

Rows 406-410 (communications related to “language” or “substance” of senate bills);

O.C.G.A. § 21-5-70(5)(A) (defining lobbying as “undertaking to promote or oppose

the passage of any legislation by the General Assembly”). Finally, GAGOP broadly

asserts that Mr. Carver’s communications related to the Task Force should be withheld

because he acted as an attorney for the group.4 But in Mr. Carver’s produced emails,


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  The non-binding cases cited by Intervenors are not to the contrary. Those cases
confirm that lobbying-related communications are only privileged if they “rise to the
level of legal advice.” Robinson v. Texas Auto. Dealers Ass’n, 214 F.R.D. 432, 445
(E.D. Tex. 2003). See also id. at 445 (advice “characterized as merely political, rather
than legal” is not privileged); Weissman v. Fruchtman, No. 83 CIV. 8958 (PKL), 1986
WL 15669, at *15 (S.D.N.Y. Oct. 31, 1986) (concluding after in camera review that
communications were privileged because it sought legal advice on pending legislation);
In re Grand Jury Subpoenas dated Mar. 9, 2001, 179 F. Supp. 2d 270, 285 (S.D.N.Y.
2001) (concluding attorneys acted primarily as lobbyists, and thus attorney-client
privilege did not apply).
4
 Plaintiffs do not seek any documents created after the enactment of SB 202 that might
be related to Mr. Carver’s representation of GAGOP in this case. See ECF Nos. 120-1
at §§ II.B-C; 122 (ESI Orders).

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he explains that “in [his] party capacity,” he chaired the Task Force which provided

“recommendations” about election issues to the legislature. GAGOP_0002307. This

describes lobbying activity rather than giving legal advice. Given Mr. Carver’s mixed

role, the privilege log’s “boilerplate assertions regarding the subject matter of the

documents” are insufficient for Plaintiffs to determine whether a communication is

privileged legal advice, or non-privileged general lobbying strategy. Meade v. Gen.

Motors, LLC, 250 F. Supp. 3d 1387, 1396 (N.D. Ga. 2017). Thus, all documents in

Exhibit A that are withheld or redacted on the basis of Mr. Carver’s representation of

the Task Force should be produced.

      B.    Intervenors’ Position

     Plaintiffs complain that GAGOP has asserted the attorney-client privilege over

hundreds of documents. So have they.5 And Intervenor Defendants have produced over

1,300 documents. GAGOP has objected to the production of additional documents and

to deposition testimony from Brad Carver on several grounds: relevance (e.g., many

are outside the relevant time frame, which for the GAGOP is the date when the Election

Confidence Task Force was formed (January 6, 2021) through the signing of SB 202

(March 25, 2021); 1st Amendment Privilege (documents or communications related to

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 For comparison purposes, various Plaintiffs have also objected to the production of
“hundreds” of documents on the grounds of privilege. For example:
   • Georgia Muslim Voter Project – 185 documents; and
   • The ARC of the United States – 111 documents.


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the associational plans or strategies of the GAGOP, the disclosure of which would

impact its members’ political activities); and attorney-client privilege (documents or

communications between Mr. Carver or other Intervenor-Defendant attorneys and

party leaders made for purposes of requesting or providing legal advice).

     Plaintiffs claim that the GAGOP asserts privilege over communications with

“hundreds” of individuals. This is false. There are four categories of emails over which

the privilege has been asserted: (1) internal Hall Booth Smith emails; (2) emails

involving only attorneys and GAGOP staff; (3) emails involving only members of the

initial Task Force (as identified in its report); and (4) emails involving only members

of the expanded Task Force, which was expanded after SB 202 was signed. Plaintiffs’

revision of the GAGOP’s privilege log – attached as Exhibit A – appears to concede

that certain of these communications are in fact privileged. The primary issue appears

to be the communications with members of the Task Force, which Plaintiffs attempt to

differentiate as lobbying, rather than a legal effort. Without conceding that point, a

lawyer can be both “acting as a lobbyist and having privileged communications with a

client who is seeking legal advice.” In re Grand Jury Subpoenas, 179 F.Supp.2d 270,

285 (S.D.N.Y.2001). Even when lobbying, the attorney-client privilege protects

communications regarding legal advice, like legal analysis of legislation and

interpretation or application of the legislation to fact scenarios. Robinson v. Texas Auto.



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Dealers Ass'n, 214 F.R.D. 432, 446 (E.D.Tex.2003), vacated in other part, 2003 WL

21911333, at *1 (5th Cir. July 25, 2003); see also Weissman v. Fruchtman, 1986 WL

15669, at *15 (S.D.N.Y. Oct. 31, 1986) (finding attorney-client privilege properly

invoked where client sought legal advice on pending legislation).

     Absent some other objection or privilege, GAGOP has produced all relevant

communications related to traditional lobbying. GAGOP has asserted the attorney-

client privilege over some of the communications between Mr. Carver and other

attorneys and GAGOP staff and Task Force members because those communications

related to the request for or provision of legal advice. Drafting the provisions of a law,

interpreting those provisions, and addressing the potential impact of them are all

activities that inherently involve the type of advice and analysis performed by an

attorney. Because these activities involve the request for or provision of legal services,

Mr. Carver’s communications pertained to providing legal advice are privileged.

     Plaintiffs also bemoan GA GOP’s privilege log and descriptions. For each entry,

GA GOP’s privilege log includes the parties to the documents or communication, the

date it was created or sent, the subject, the author, and a description. See Exhibit B –

Privilege Log. As can been by Exhibit A, GAGOP’s log is comparable to Plaintiffs’,

and in many cases, is more robust.




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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing document has been prepared in accordance

with the font type and margin requirements of L.R. 5.1, using font type of Times New

Roman and a point size of 14.




Dated: February 24, 2023                          /s/ Uzoma N. Nkwonta
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                            CERTIFICATE OF SERVICE

      I hereby certify that on February 24, 2023, I electronically filed this document

with the Clerk of Court using the CM/ECF system which will automatically send email

notification of such filing to the attorneys of record.



Dated: February 24, 2023                              /s/ Uzoma N. Nkwonta
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